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                                                                   7
                                                                                                       UNITED STATES BANKRUPTCY COURT
                                                                   8                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                   9                                           NORTHERN DIVISION
                                                                  10   In re:                                           Case No.: 19-bk-11573-MB
                                                                  11   HVI CAT CANYON, INC.                             Chapter 11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                Debtor.             APPLICATION FOR APPROVAL OF THE
                                                                                                                        EMPLOYMENT OF DORE ROTHBERG
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                        McKAY AS SPECIAL OIL & GAS COUNSEL
                                                                                                                        TO THE OFFICIAL COMMITTEE OF
                                                                  14                                                    UNSECURED CREDITORS, EFFECTIVE AS
                                                                                                                        OF NOVEMBER 14, 2019
                                                                  15
                                                                                                                        [No Hearing Required]
                                                                  16

                                                                  17   TO THE HONORABLE MARTIN R. BARASH, UNITED STATES BANKRUPTCY JUDGE,
                                                                       AND THE OFFICE OF THE UNITED STATES TRUSTEE:
                                                                  18

                                                                  19            The Official Committee of Unsecured Creditors (the “Committee”) appointed in the above-
                                                                  20   captioned case (the “Chapter 11 Case”) of HVI Cat Canyon, Inc. (the “Debtor”) submits this
                                                                  21   application (the “Application”) for the entry of an Order authorizing the employment and retention
                                                                  22   of the Dore Rothberg McKay (“DRM”) as special oil and gas counsel to the Committee, effective as
                                                                  23   of November 14, 2019, pursuant to sections 328 and 1103 of title 11 of the United States Code (the
                                                                  24   “Bankruptcy Code”), Rule 2014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy
                                                                  25   Rules”), and Rule 2014-1 of the Local Bankruptcy Rules of the United States Bankruptcy Court for
                                                                  26   the Central District of California (the “Local Bankruptcy Rules”). In support of the Application, the
                                                                  27   Committee submits the Declaration of Carl Dore, Jr. (the “Dore Declaration”), filed concurrently
                                                                  28   herewith. In further support of the Application, the Committee respectfully represents as follows:

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                                                                   1                                       JURISDICTION AND VENUE

                                                                   2                    This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

                                                                   3   This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b).

                                                                   4                    Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                                   5                    The statutory predicates for the relief sought herein are sections 328(a) and 1103(a) of

                                                                   6   the Bankruptcy Code, Bankruptcy Rules 2014 and 2016, and Local Bankruptcy Rules 2014-1 and

                                                                   7   2016-1.

                                                                   8                                              BACKGROUND

                                                                   9                    On July 25, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for relief

                                                                  10   under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States

                                                                  11   Bankruptcy Court for the Southern District of New York (the “SDNY Court”), thereby commencing
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                                                                  12   this chapter 11 case, bearing case number 19-12417 (MEW) (the “Case”). On August 28, 2019, the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   SDNY Court entered an Order Transferring Venue to United States Bankruptcy Court for the
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                                                                  14   Northern District of Texas [Docket No. 106] (the “NDTX Court”), bearing case number 19-32857-

                                                                  15   hdh11.

                                                                  16                    On August 9, 2019, the United States Trustee for the Southern District of New York

                                                                  17   appointed the Committee to represent the interests of all unsecured creditors in this case pursuant to

                                                                  18   section 1102 of the Bankruptcy Code. The members appointed to the Committee are: (i) Brian

                                                                  19   Corson, in his Individual Capacity; (ii) Escolle Tenants in Common; and (iii) Pacific Petroleum

                                                                  20   California, Inc. See Appointment of Official Committee of Unsecured Creditors’ Committee [Docket

                                                                  21   No. 34]. On August 15, 2019, the Committee held its initial meeting and, among other things, voted

                                                                  22   to retain Pachulski Stang Ziehl & Jones LLP (“PSZ&J” or the “Firm”) as its bankruptcy counsel.

                                                                  23                    On September 12, 2019, the NDTX Court entered an Order Granting Transfer of

                                                                  24   Venue, transferring the Case to the United States Bankruptcy Court, Central District of California

                                                                  25   (Northern Division) [Docket No. 184] (the “Bankruptcy Court”). On September 16, 2019, the Case

                                                                  26   was transferred to the Bankruptcy Court, and assigned case number 19-bk-11573-MB.

                                                                  27                    On October 16, 2019, the court entered its Agreed Order Granting Motion for

                                                                  28   Appointment of a Chapter 11 Trustee [Docket No. 409].

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                                                                   1                    On October 21, 2019, Michael A. McConnell was appointed by the Office of the

                                                                   2   United States Trustee to serve as chapter 11 trustee. (the “Chapter 11 Trustee”) [Docket No. 418].

                                                                   3                    The Committee has selected DRM to serve as special oil and gas counsel in this case,

                                                                   4   effective as of November 14, 2019.

                                                                   5                                          RETENTION OF DRM

                                                                   6                    By this Application, the Committee seeks authority to retain DRM as special oil and

                                                                   7   gas counsel to conduct a review of liens asserted by UBS AG against the Debtor’s oil and gas

                                                                   8   interests, pursuant to sections 328 and 1103 of the Bankruptcy Code, Bankruptcy Rule 2014(a) and

                                                                   9   Local Bankruptcy Rule 2014-1.

                                                                  10                    The Committee has selected DRM because of its extensive experience in representing

                                                                  11   oilfield services companies. DRM files more mineral liens than any other firm in the United States.
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                                                                  12   Its clients range from the largest public companies in the industry to small, family-owned entities.
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Most have been DRM’s clients for years. DRM also has a section dedicated to reviewing Master
                                           ATTORNEYS AT LAW




                                                                  14   Service Agreements to help in negotiations. In its niche, DRM is the market leader and experts in

                                                                  15   best practices. Accordingly, the Committee believes that DRM is well qualified to serve as its

                                                                  16   special oil and gas counsel in this Chapter 11 Case.

                                                                  17                    The Committee submits that it is necessary and appropriate for it to employ and retain

                                                                  18   DRM to provide, among other things, the following services:

                                                                  19                    a) assist the Committee in its investigation of the liens asserted by UBS AG
                                                                                           against the Debtor’s oil and gas interests;
                                                                  20
                                                                                        b) prepare, on behalf of the Committee, any pleadings, including without
                                                                  21                       limitation, motions, memoranda, complaints, adversary complaints,
                                                                                           objections or comments in connection with the foregoing; and
                                                                  22
                                                                                        c) perform such other legal services as may be required or requested or as
                                                                  23                       may otherwise be deemed in the interests of the Committee in accordance
                                                                                           with the Committee’s powers and duties as set forth in the Bankruptcy
                                                                  24                       Code, Bankruptcy Rules or other applicable law.
                                                                  25                    The Committee understands and agrees that DRM will charge for its legal services on

                                                                  26   an hourly basis in accordance with its ordinary and customary hourly rates and for out-of-pocket

                                                                  27   expenses, as set forth in the Dore Declaration. The Committee requests that all legal fees and related

                                                                  28   costs and expenses incurred by the Committee on account of services rendered by DRM in this case

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                                                                   1   be paid as administrative expenses of the estate pursuant to sections 328, 330(a), 331, 503(b) and

                                                                   2   507(a)(2) of the Bankruptcy Code. The Committee understands that DRM will be submitting

                                                                   3   detailed statements to the Court setting forth the services rendered and seeking compensation and

                                                                   4   reimbursement of expenses. The Committee also understands that DRM will be applying to the

                                                                   5   Court for authority to be paid its fees and expenses pursuant to its obligations under the Bankruptcy

                                                                   6   Code and any administrative fee orders entered in this case, and the Committee consents to same.

                                                                   7                    Based upon the Dore Declaration, the Committee is satisfied that DRM (i) does not

                                                                   8   represent any other entity having an adverse interest to the Committee, the Chapter 11 Trustee, the

                                                                   9   Debtor, its estate, or any other party-in-interest in connection with this case, (ii) has no connection

                                                                  10   with the U.S. Trustee or any other person employed in the office of the U.S. Trustee, and (iii) DRM

                                                                  11   has not been paid any retainer against which to bill fees and expenses.           To the best of the
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                                                                  12   Committee’s knowledge, DRM has no connection with creditors or any other party-in-interest except
                                        LOS ANGELES, CALIFORNIA




                                                                  13   as otherwise noted in the Dore Declaration.
                                           ATTORNEYS AT LAW




                                                                  14                    The Committee requests approval of the employment of DRM as special oil and gas

                                                                  15   counsel, effective as of November 14, 2019. The Committee’s selection of DRM as its counsel

                                                                  16   necessitated that DRM immediately commence work on time-sensitive matters and promptly devote

                                                                  17   substantial resources to the Debtor’s case, pending submission and approval of this Application.

                                                                  18   Such relief is warranted pursuant to Local Bankruptcy Rule 2014-1(b) because this Application is

                                                                  19   made within 30 days of the commencement of services by DRM.

                                                                  20                                      SUPPORTING AUTHORITY

                                                                  21                    The Committee seeks to appoint DRM as its special oil and gas counsel in accordance

                                                                  22   with sections 328(a) and 1103 of the Bankruptcy Code. Section 328(a) authorizes a committee

                                                                  23   appointed under section 1102 of the Bankruptcy Code, with the court’s approval, to employ “a

                                                                  24   professional person under section 327 or 1103 of this title, as the case may be, on any reasonable

                                                                  25   terms and conditions of employment, including on a retainer, on an hourly basis, on a fixed or

                                                                  26   percentage fee basis, or on a contingent fee basis.” 11 U.S.C. § 328(a). Section 1103, in turn,

                                                                  27   requires that an attorney employed to represent a committee “may not, while employed by such

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                                                                   1   committee, represent any other entity having an adverse interest in connection with the case.”    11

                                                                   2   U.S.C. § 1103.

                                                                   3                    The Committee submits that for all the reasons stated above and in the Dore

                                                                   4   Declaration, the retention and employment of DRM as special California oil and gas counsel to the

                                                                   5   Committee is warranted under sections 328(a) and 1103.

                                                                   6            WHEREFORE, the Committee requests that an Order be entered authorizing it to retain

                                                                   7   DRM as its special oil and gas counsel in this case, effective as of November 14, 2019, and granting

                                                                   8   the Committee such other relief as the Court deems just and proper under the circumstances.

                                                                   9
                                                                       Dated:     December 4, 2019                 PACHULSKI STANG ZIEHL & JONES LLP
                                                                  10

                                                                  11                                               By       /s/ Maxim B. Litvak
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                                            Attorneys for Official Committee of Unsecured
                                                                  12                                                        Creditors
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                    10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): APPLICATION FOR APPROVAL OF THE
EMPLOYMENT OF DORE ROTHBERG McKAY AS SPECIAL OIL & GAS COUNSEL TO THE OFFICIAL COMMITTEE
OF UNSECURED CREDITORS, EFFECTIVE AS OF NOVEMBER 14, 2019 will be served or was served (a) on the judge
in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
December 4, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) December 4, 2019, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) December 4, 2019, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

 VIA OVERNIGHT DELIVERY
 Honorable Martin R. Barash
 U.S. Bankruptcy Court
 21041 Burbank Boulevard, Suite 342 / Courtroom 303
 Woodland Hills, CA 91367-6603

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  December 4, 2019               Nancy H. Brown                                                  /s/ Nancy H. Brown
  Date                           Printed Name                                                    Signature




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     Case 9:19-bk-11573-MB                   Doc 580 Filed 12/04/19 Entered 12/04/19 16:36:14                                       Desc
                                             Main Document     Page 10 of 10
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